  Case: 1:18-cr-00041-JAR Doc. #: 80 Filed: 06/22/21 Page: 1 of 2 PageID #: 379




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                SOUTHEASTERN DIVISION

UNITED STATES OF AMERICA,                      )
                                               )
       Plaintiff,                              )
                                               )
vs.                                            ) Case No.: 1:18-cr-41 JAR
                                               )
CORY HUTCHESON,                                )
                                               )
       Defendant.                              )

                    MOTION TO TERMINATE SUPERVISED RELEASE

       COMES NOW, Defendant, Cory Hutcheson, by and through counsel, and respectfully

moves this Court, pursuant to title 18 U.S.C. §3583(e)(1), to terminate early his three-year term

of supervised release. In support of this motion, Defendant states as follows:

       1.      On November 20, 2018, Defendant pled guilty to two counts relating to wire

               fraud and identity theft. See Doc. Text # 52.

       2.      On April 29, 2019, the Court sentenced Defendant to 6 months in prison to be

               followed by three years of supervised release. Defendant was also ordered to pay

               a $200 Special Assessment. See Doc. Text #74.

       3.      Defendant received no halfway house time and was released directly to

               supervision on December 18, 2019. He returned to his home of over ten years in

               East Prairie, Missouri that he shares with his wife and daughter.

       4.      Defendant secured employment with Hutcheson Plumbing after leaving his prior

               employment in May 2017. Upon his release to supervision in 2019, Defendant

               resumed his duties with Hutcheson Plumbing where he serves as both a plumber

               and supervisor.
  Case: 1:18-cr-00041-JAR Doc. #: 80 Filed: 06/22/21 Page: 2 of 2 PageID #: 380




       5.      Supervision negatively impacts Defendant’s employment and earning capacity

               because of his travel restrictions as he lives within 15 miles of two different states

               and often receives inquires for services from customers located outside the

               Eastern District of Missouri including Illinois, Tennessee and Kentucky. More

               often than not, when Defendant is unable to look at jobs quickly or mentions his

               supervision restrictions, potential customers move on to other contractors.

       6.      To date, Defendant has incurred no violations during his 18 months of Supervised

               Release and was placed on the administrative caseload in April 2020. Defendant

               has completed more than half of his three year term of Supervised Release.

       7.      Defendant, through counsel, has spoken with Assistant United States Attorney,

               Gwen Carroll. Ms. Carroll has no objection to Defendant’s request.


       WHEREFORE, for the reasons stated above, Defendant respectfully requests this Court

terminate early his three-year term of supervised release.


Respectfully submitted,

                                      By:     /S/ Marc Johnson_________
                                              Marc Johnson
                                              Attorney for Defendant
                                              120 S. Central Avenue, Suite 130
                                              Clayton, Missouri 63105
                                              (314) 862-4332/Facsimile 862-8050



                                 CERTIFICATE OF SERVICE

       I hereby certify that on June 22, 2021, the foregoing was electronically filed with the
Clerk of the Court to be served by operation of the Court’s electronic filing system upon Ms.
Gwen Carroll, assistant United States attorney.
